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UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF LOUISIANA

CONNIE CATCHINGS ON BEHALF * CIVIL ACTION
OF HER DAUGHTER,

CHRISTY CATCHINGS *

VERSUS * NO. 01-3629
ST. TAMMANY ASSOCIATION * SECTION “K”
FOR RETARDED CITIZENS

* MAGISTRATE 2

* * * * * * * *

MOTION FOR SUMMARY JUDGMENT
NOW INTO COURT, through undersigned counsel, comes defendant St. Tammany
Association for Retarded Citizens who, pursuant to FRCP 56, moves this court for an order
granting its Motion for Summary Judgment as there are no issues of material fact and defendant

is entitled to judgment as a matter of law.

 
 
 
 
  

TLER, LLC

 

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Retarded Citizens

 

 
 

 

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CERTIFICATE OF SERVICE

This is to certify that a copy of the foregoing has been forwarded to all counsel of record

   

via U.S. Mail, postage pre-paid and properly addressed, this

 

MICHAEL”. TUSA, JR.

 
 

 

 

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UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF LOUISIANA

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VERSUS * NO. 01-3629
ST. TAMMANY ASSOCIATION * SECTION “K”
FOR RETARDED CITIZENS

* MAGISTRATE 2

MEMORANDUM IN SUPPORT OF MOTION
FOR SUMMARY JUDGMENT

This memorandum is submitted on behalf of defendant St. Tammany Association for
Retarded Citizens (“STARC’”) and in support of its Motion for Summary Judgment. In particular
STARC moves this court for an order dismissing all of plaintiff's claims for the reasons set forth
herein.

In pertinent part, FRCP 56(b) provides that:

a party against whom a claim, counterclaim, or cross claim is
asserted . . . may, at any time, move, with or without supporting

affidavits for a summary judgment in the party's favor as to all or
any part thereof.

FRCP 56(c) also sets forth the relevant standard for determining whether summary judgment

 
 

 

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should be granted. Specifically, it provides that:
. . .The judgment sought shall be rendered forthwith if the
pleadings, depositions, answers to interrogatories and admissions
on file, together with the affidavits, if any, show that there is no
genuine issue as to any material fact and that the moving party is
entitled to judgment as a matter of law.
See Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S.Ct. 2548, 2552-53, 91 L.Ed.2d 265 (1986);
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S.Ct. 2505, 2510, 91 L.Ed.2d 202
(1986).
In Celotex Corp. v. Catrett, supra, the court noted that:
The plain language of Rule 56(c) mandates the entry of summary
judgment, after adequate time for discovery and upon motion,
against a party who fails to make a showing sufficient to establish
the existence of an element essential to that party's case, and on
which that party will bear the burden of proof at trial.
See also Hans Const. Co. v. Phoenix Assur. Co. of New York, 995 F.2d 53 (5" Cir. 1993); George
v. Kramo Ltd., 796 F.Supp. 1541, 1545 (E.D. La. 1992); Etheridge v. Sub Sea International, 806
F.Supp. 598, 600 (E.D. La. 1992).
It has been repeatedly affirmed that a Motion for Summary Judgment is appropriate in

employment discrimination litigation.' See Chock v. Northwest Airlines, Inc., 113 F.3d 861 (8th

Cir. 1997); Evans v. Technologies Applications and Service Company, 80 F.3d 954 (4th Cir.

 

| This remains true even after Reeves v. Sanderson Plumbing, 120 S.Ct. 2097

(2000). See Auguster v. Vermillion Parish School Board, 249 F.3d 400 (5" Cir. 2001);
Rubinstein v. Administrators of the Tulane Educational Fund, 218 F.3d (5" Cir. 2000).

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1996); Lidge-Myrtil v. Deere & Co., 49 F.3d 1308, 1312 (8th Cir. 1995); Shannon v. Ford Motor

Co., 72 F.3d 678 (8th Cir. 1996); Barrow v. New Orleans Steamship Association, 10 F.3d 292

 

(5th Cir. 1994); Bodenheimer v. P.P.G. Industries, Inc., 5 F.3d 955 (Sth Cir. 1993); Journigan v.

 

Eastover Bank for Savings, 805 F.Supp. 415 (S.D. Miss. 1992); Aleman v. State of Texas, 803
F.Supp. 10 (S.D. Tex. 1992); Johnson v. Southwestern Bell Telephone, 819 F.Supp. 578 (E.D.
Tex. 1993); Moore v Eli Lilly & Co., 802 F.Supp. 1468 (N.D. Tex. 1992). This has also been true
in claims, like plaintiff's herein. See Stopka v. Alliance of American Insurers, 141 F.3d 681 (5"
Cir. 1998); Mulhall v. Advance Security, 19 F.3d 586 (11" Cir. 1994).

A. What constitutes “proof” by the plaintiff in response to a Motion for Summary
Judgment?

In responding to a Motion for Summary Judgment, not just any evidence presented by a
plaintiff constitutes sufficient evidence to defeat a Motion for Summary Judgment. As the court
wrote in Etheridge, supra, 600:

The mere argued existence of a factual dispute does not defeat an
otherwise properly supported motion. Therefore, ‘if the evidence
is merely colorable, or is not significantly probative,’ summary
judgment is appropriate. [Anderson] 477 U.S. at 249-50....
See also Schenck v. Living Centers East, 917 F.Supp. 432 (E.D. La. 1996); Sinkler v. Midwest

Property Management, 209 F.3d 678 (7" Cir. 2000). In other words, in responding to a Motion

for Summary Judgment, not just any evidence will be sufficient to defeat it.?_ See Douglas v.

 

As the court recently wrote in Rubinstein, supra, “. . . discrimination suits still

require evidence of discrimination.” 218 F.3d at 400.

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United Services Auto Ass’n., 79 F.3d 1415, 1429 (5™ Cir. 1996).
More importantly, the court in Rhodes v. Guiberson Oil Tools, 75 F.3d 989, 993 (Sth Cir.
1996) noted that in assessing summary judgment evidence, “There must be a conflict in
substantial evidence to create a jury question.” In LaPierre v. Benson Nissan, Inc., 86 F.3d 444
(Sth Cir. 1996), the court cited Rhodes, supra, and indicated that:
In the employment discrimination context, evidence is ‘substantial’
if it is such as to allow a rational fact finder to make a reasonable

inference that [disability] was a determinative reason for the
employment decision. Page 449.

See also Walton v. Bisco Industries, 119 F.3d 368 (5" Cir. 1997). The court in LaPierre, supra,

 

then created a two pronged test regarding summary judgment evidence and concluded that:
A jury issue will be presented and a plaintiff can avoid summary
judgment . . . if the evidence taken as a whole (1) creates a fact
issue as to whether each of the employer’s stated reasons was what
actually motivated the employer and (2) creates a reasonable
inference that [sex, race, etc.] was a determinative factor in the
actions of which plaintiff complains. Page 450.
See also Ontiveros v. Asarco, Inc., 83 F.3d 732, 734 (5" Cir. 1996).

In applying this two-pronged standard to plaintiff's evidence in opposition to a Motion
for Summary Judgment it is important to note what is not considered by the courts as sufficient
or “substantial” enough evidence to defeat a Motion for Summary Judgment. In Mosley v.
Houston Community College System, 951 F.Supp. 1279, 1288-1289 (S.D. Tex. 1996), for
example, the court wrote:

Conclusory allegations and unsubstantiated assertions of racial

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discrimination are not sufficient to create a genuine issue of
material fact and defeat summary judgment.

See also Douglas v. United Servs. Auto. Ass’n., 65 F.3d 452, 459 (Sth Cir. 1995); Little
v. Liquid Air Corp., 37 F.3d 1069, 1075 (Sth Cir. 1995); Ray v. Tandem Computers, Inc., 63 F.3d
429, 434 (Sth Cir. 1995). Similarly, the court in Hernandez v. Exxon Corp., 943 F.Supp. 740,
746-747 (S.D. Tex. 1996) wrote:

An employee’s own subjective belief of discrimination, however
genuine, cannot serve as the basis for judicial relief.

In Evans v. Technologies Applications & Service Co., 80 F.3d 954, 960 (4th Cir. 1996),
the court went one step further in assessing the plaintiffs summary judgment evidence. In
particular, the court noted that:

... (Plaintiff's own opinions and conclusory allegations do not
have sufficient probative force to reflect a genuine issue of
material fact.)
See also Lovelace v. Sherwin-Williams Co., 681 F.2d 230, 245 (4th Cir. 1982). Further,
“,.inadmissable hearsay cannot defeat a Motion for Summary Judgment... .” Pritchard v.
Southern Co. Services, 92 F.3d 1130, 1135 (11" Cir. 1996).
In the present case, there are no material factual issues in dispute of significance. Indeed,

this motion is largely based on the position that as a matter of law, plaintiff cannot succeed on her

claims.

 

 
 

 

 

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L FACTUAL BACKGROUND

St. Tammany Association for Retarded Citizens (“STARC’’) is a Louisiana not for profit
corporation which provides a variety of services for developmentally disabled adults in the parish
of St. Tammany (“clients”). STARC employs approximately 200 people and provides services
to innumerable developmentally disabled adults. This includes employment of disabled
individuals under sheltered workshop certificates.’

The STARC program is divided into various programs including the linen service
program. The linen service program is supervised by Rhonda Clark. (Exhibit 7.) The linen
service program contracts with various businesses and STARC clients perform duties such as
washing, drying and folding laundry and towels. The staff (client and non-client) in the linen
service program has generally consisted of 10-12 disabled workers, 3 linen service staff, 1
production worker and 1 driver. (Exhibit 7.)

According to plaintiff she was denied employment “. .. with STARC for a position in the
laundry facility . . . including such duties as washing, drying and folding laundry.” (Par. 14.)
Plaintiff alleges that this denial of employment was based upon her disability and/or race. (Par.
15.) Ms. Clark, the Linen Service Facilitator, denies that plaintiff ever applied for a job in linen
services. (Exhibit 7.) Ms. Clark recalls that plaintiffs sister worked in linen service for % day
and quit without notice. (Exhibit 7.)

The evidence, however, reflects that plaintiff, through her mother, partially completed an

 

3 Sheltered workshops are authorized under 29 USC 214(c).

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employment application with STARC on or about April 10/11, 2000. (Exhibit 1.) On that
application (first page) plaintiff indicated that she sought “seasonal” work instead of “part time”
or “full time” work. (Exhibit 1.) The linen service program is not a seasonal program. As
plaintiff was a minor at the time state law required that she obtain an employment certificate from
the Department of Labor. This was issued to plaintiff on or about April 20, 2000 and reflects that
she was to work in a sheltered workshop for STARC. (Exhibit 2.)

The evidence further reflects that plaintiff was in fact hired for seasonal work by defendant
STARC and began working prior to May 12, 2000. (Exhibit 3.) She received her first pay check
from STARC on May 12, 2000. (Exhibit 3, 4.) The payroll records reflect that she performed
seasonal work for STARC until approximately September 1, 2000. (Exhibits 3, 4.)

Plaintiff's mother was terminated from her employment with STARC in February, 2001.
Plaintiff's mother then filed an EEOC charge on her own behalf and on behalf of her daughter*
(plaintiff herein). (Exhibit 5.) The EEOC found no merit in either charge. (Exhibit 6.)
Plaintiff's mother than filed a handwritten lawsuit on behalf of her daughter and ultimately the
Tulane Law Clinic was appointed to represent her. In the lawsuit plaintiff alleges that she was
denied employment by STARC in linen services because of her race and/or disability. STARC

has denied plaintiff's claims.

 

‘ The EEOC charge filed on behalf of plaintiff herein states that she was denied
the opportunity to work in the laundry on June 10, 2000. (Exhibit 5.) As of June 10, 2000
plaintiff was already employed by defendant as a seasonal worker. (Exhibits 1-4.)

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i. PLAINTIFF’S BURDEN OF PROOF: RACE DISCRIMINATION CLAIM

A. Plaintiff must prove a prima facie case of race discrimination

In the context of a race discrimination claim, there is a specific allocation of proof. See
McDonnell Douglas Corp. v. Green, 411 U.S. 792, 93 S.Ct. 1817, 36 L.Ed.2d 668 (1973); Texas
Dept. of Community Affairs v. Burdine, 450 U.S. 248, 101 S.Ct. 1089, 67 L.Ed.2d 207 (1981);
St. Mary’s Honor Center v. Hicks, 509 U.S. 502, 113 S.Ct. 2742, 2748, 125 L.Ed.2d 407 (1993).
This allocation of proof applies regardless of whether plaintiffs claim is a failure to hire, failure
to promote, or a wrongful termination claim on the basis of race.

The allocation of proof requires that plaintiff first establish a prima facie case of race
discrimination. See James v. Ranch Mart Hardware, Inc., 881 F.Supp 478 (D. Kan. 1995); Evans
v. Jay Instrument and Specialty Co., 889 F.Supp 802 (S.D. Ohio 1995). To establish a prima facie
case of race discrimination, Ms. Catchings must prove that: (1) she is a member of a protected
class; (2) she was qualified for the job in question; (3) she suffered an adverse employment action;
and (4) non-class members (in this case, white employees) in the same or similar circumstances
were treated more favorably. See James, supra, Dean v. Pepsi Cola Binghamton Bottlers, 894
F. Supp. 600 (N.D.N.Y. 1995).

In the present case, it is undisputed that plaintiff is African American and, therefore, in
a protected class. However, it is disputed that plaintiff can meet the remainder of the criterion for
proving a prima facie case of race discrimination. In particular plaintiff cannot show that she was

qualified for the job in question, that she suffered an adverse employment action or that whites

 
 

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were treated more favorably.

(1) Plaintiff was not qualified for the job nor suffered an adverse employment
action as she never applied for the job in question

The undisputed evidence show that plaintiff, through her mother, applied for “seasonal”
work with STARC on or about April 10, 2000. (Exhibit 1.) After obtaining the necessary
certificate for a minor working she began her seasonal employment with defendant in early May,
2000. (Exhibits 3, 4.) She continued working as a seasonal employee until on or about

September 1, 2000. (Exhibit 3, 4.) There is no application or other documentation reflecting that

 

plaintiff ever applied for the linen service job she now complains about. Indeed the evidence is
that she was hired for the job she applied for (seasonal) and never applied for the linen service
job.

Rhonda Clark the facilitator of the Linen Service program has attested that at “no time did
Connie Catchings or Christy Catchings ever ask . . . about a job for Christy working at linen
services”. (Exhibit 7.) She has further attested that she is unaware of “. .. Christy ever applying
for ajob with linen services.” (Exhibit 7.) Rather, Ms. Clark recalls that she hired Christy’s sister
who worked “. . . for a % day and quit without notice.” (Exhibit 7.) She also recalls plaintiff's
mother asking “‘. . . if her daughter Christy could sit in the laundry facility while Connie drove her
route bus for STARC as Christy had no-one to watch her.” (Exhibit 7.)

The absence of evidence that plaintiff applied for the linen service job is critical and

 

° Ms. Clark’s memory on this point is buttressed by an August 19, 1999 memo

cautioning Ms. Catchings about leaving her daughter at work unattended. (Exhibit 8.)

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defeats plaintiff's claim that she was not hired for this job based upon her race (or disability).

It should be noted that even if plaintiff is alleging she should have been reassigned to the

 

linen service program from her seasonal work her proof fails. As the court rote in Deas v. River

West L.P., 152 F.3d 471, 481 (N 23) (5" Cir. 1998):

There is a possibility that Deas is attempting to assert the claim
that Miller discriminated against her by refusing to reassign her to
a different position within the hospital. Deas, however, cannot
prevail on this claim because she has not made any showing either
that position were available or that she applied for, requested to be
considered for, or even showed an interest in other position at the
hospital. Deas bears the initial burden of producing evidence on
these issues. See Forman v. Babcock & Wilcox Co., 117 F.3d
800, 810 (5 Cir. 1997). Absent any evidence that such position
were available and absent any allegation that Deas requested to be
considered for such a position, Deas has not even stated a claim of
discrimination in hiring practices let alone produced sufficient
evidence to survive a motion for summary judgment. Thus, even
if the record contained evidence that Miller perceived Deas as
disabled (which incidentally, it does not), Deas’ claim would still
fail, and Miller’s perceptions are therefore irrelevant to the
disposition of this case.

(2) Plaintiff cannot prove that white employees were treated more favorably
The final element of her prima facie proof is that similarly situated white employees were

treated more favorable than she was treated. Plaintiff has no evidence at all in this regard.

 

B. Defendant’s burden of production
Assuming arguendo that the plaintiff proves a prima facie case of discrimination, which
is denied, the burden of production then shifts to the defendant to articulate a legitimate

nondiscriminatory reason for its actions. LaPierre, supra. This burden of production on

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defendant to articulate a legitimate nondiscriminatory reason for its actions is not very great. As

 

the court noted in Hartsel v. Keys, 87 F.3d 795, 800 (6" Cir. 1996):
It is important to note that the defendant need not prove a non-
discriminatory reason . . . but need merely articulate a valid
rationale.
The courts have also made it clear that the law does not allow the courts to second guess
the employee’s articulated reasons for its actions. As the court noted in Lidge-Myrtil v. Deere &
Co., 49 F.3d 1308, 1312 (8" Cir. 1995):
Deere proffered a legitimate nondiscriminatory reason for giving
Bundschuh the position. We do not sit to determine if this reason
is based on sound principles of business judgment. Davenport v.
Riverview Gardens School, 30 F.3d 940, 945 (8" Cir. 1994). Nor
is it our place to tell a business that it must promote an individual
who may very well be inappropriate for a position. . .

Rather, the relevant inquiry is whether the employer’s decision was based on race.

After the defendant articulates a legitimate nondiscriminatory reason for its action, the
plaintiff bears “...the final burden of persuasion on the issue of intentional discrimination.” See
Amirmokri v. Baltimore Gas & Elec. Co., 60 F.3d 1126, 1130 (4" Cir. 1995); Bodenheimer v.
P.P.G. Industries, 5 F.3d 955, 957 (5" Cir. 1993). In other words, the plaintiff must carry the

burden of proof on “‘the ultimate question of whether the defendant intentionally discriminated

against plaintiff.” LaPierre, supra, page 446. The mere fact that a plaintiff even succeeds at

 

proving that a defendant’s proffered reasons for its actions are pretextual does not necessarily
mean plaintiff is entitled to judgment because the ultimate issue on which plaintiff bears the

burden of persuasion is not whether the employer has given the true reasons for its actions but

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whether the employer’s actual reason is a discriminatory one prohibited by law. See St. Mary’s
Honor Center v. Hicks, 509 U.S. 502 (1993); Rhodes v. Guiberson Oil Tools, 75 F.3d 989 (5"
Cir. 1996).

C. Defendant has articulated a legitimate non-discriminatory reason for its
actions involving plaintiff

As previously noted, if plaintiff succeeds at proving a prima facie case of race
discrimination, the employer must articulate a legitimate non-discriminatory reason for its actions.
See Mayberry v. Vought Aircraft Co., 55 F.3d 1086, 1089-1090 (5" Cir. 1995). In the present
case the evidence shows that plaintiff was hired for the job she applied for. There is no evidence
she sought a linen service job or that such was denied her. As a result defendant has articulated
a legitimate nondiscriminatory reason for its actions.

D. Plaintiff has no proof of pretext or discrimination as to her race

discrimination claim

After the defendant has articulated a legitimate non-discriminatory reason for its actions,
the burden shifts to the plaintiff to prove pretext and intentional discrimination. In Bodenheimer
v. PPG Industries, 5 F.3d 955 (5" Cir. 1993), the court wrote:

To prevail ultimately, the plaintiff must prove, through a
preponderance of the evidence, that the employer’s reasons were
not the true reasons for the employment decision and that her

unlawful discrimination was. Bodenheimer, supra, page 957.

See also Amirmokri v. Baltimore Gas & Elec. Co., 60 F.3d 1126, 1130 (4" Cir. 1995).

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1. Defendant hired plaintiff for seasonal work

The undisputed evidence reflects that STARC in fact hired plaintiff for the exact type of
work she applied for (seasonal). At the time she was hired for this work she was African
American. Defendant’s willingness to hire plaintiff for the job she applied for defeats her claim
of racial discrimination against her. It defeats plaintiff's claim of pretext as well.
IH. PLAINTIFF’S BURDEN OF PROOF: DISABILITY DISCRIMINATION CLAIM

In a failure to hire case under the ADA the plaintiff has the burden of proving that she has
a “disability”; is a “qualified individual with a disability” and that the defendant discriminated
against her because of her disability.*° Buchanan v. City of San Antonio, 85 F.3d 196 (5" Cir.
1996). In reference to the discrimination component of her burden of proof plaintiff must prove
defendants was “‘. . . motivated by the considerations prohibited by the statute”. Hypes v. First
Commerce Corporation, 134 F.3d 721, 726 (5" Cir. 1998).

As noted above plaintiff cannot carry her burden of proof. She submitted an application
for seasonal work with STARC and in fact was hired to perform seasonal work for STARC. She
has no evidence that she applied for another position and was denied employment in such a

position. As a result she cannot carry her burden of proving disability discrimination.

 

6 This can be done by direct evidence of discrimination or by using the shifting

burdens of production in McDonnell Douglas Corp. v. Green, 411 US 792, 93 SCt 1817, 36
L.Ed. 2d 668 (1973); Seaman v. CSPH Inc., 179 F.3d 297 (5" Cir. 1999).

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CONCLUSION
For the reasons assigned defendant’s Motion for Summary Judgment should be granted.
Plaintiff cannot carry her burden of proof on either of her claims as defendant, in fact, hired her

for seasonal work.

 
 
 

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Attorney for St. Tammany Association for
Retarded Citizens

 

CERTIFICATE OF SERVICE
This is to certify that a copy of the foregoing has been forwarded to all counsel of record

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via U.S. Mail, postage pre-paid and properly addressed, is ay 0 , 2002.
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EXHIBIT LIST
1, Employment Application for Christy Catchings
2. DOL Employment Certificate
3. Pay checks to Christy Catchings
4. Payment History by Employee - Christy Catchings
5. EEOC Charge on behalf of Christy Catchings
6. Notice of Dismissal of EEOC Charge
7. Affidavit of Rhonda Clark

8. Memo to Connie Catchings from Sherri Johnston

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ST. TAMMANY ARC

* CENTRAL OFFICE EMPLOYMENT
SLIDELL, LA 70460 APPLICATION

 

We are an Equal Opportunity Employer. We comply with all applicable Federal, State, and local laws concerning discrimination in employment.
No question in this application is intended to elicit information in violation of any such law nor will any information obtained in response to any question
be used in violation of any such law.

 

 

 

 

   

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poj2 nerves ADDITIONAL EMPLOYMENT - RELATED INFORMATION |

 

 

RELATIONSHIP

 

 

 

List any relatives or friends working for this organization: Ji : 7
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Can you verify your legal rights to work in the U.S. by providing a birth certificate, proof of U.S. Citizenship, or by some other means? id Yes
[J No
If your are under 18, are you able to fumish a work pennit? oe No '

 

 

Have you been convicted of a crime in the past 7 years, excluding misdemeanors and summary offenses, which has not been annulled, expunged,
or sealed by a court? OO Yes I

Hf "yes", please describe in detail:

 

 

 

 

 

(A conviction record will not necessarily be a bar to employment.)

 

 

Additional Remarks:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

     

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“APPLICANT'S CERTIFICATION - Please read carefully before signing. “fea |

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I certify that the answers given by me to the foregoing questions and the statements made by me in this application are correct
and complete. | understand that, if | become employed, a misrepresentation or omission of fact in this application may result in
my discharge from employment.

| authorize the company, as part of its evaluation of my suitability for employment, to contact all school officials, references, and
my previous supervisors to secure information concerning my skills, character, and ability.

I further acknowledge and agree thatno manager or representative of the Company has any authority to enter into any employment
agreement.

| understand and agree that, fle am employed, I will be an at-will employee and the Company may’ terminate my employment at
any time and for any or no reason without prior notice.

 

 

 

 

 

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Case 2:01 cv OS 64GB RD-JOW Document 24 Filed a Page 21 of 40

 

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Offer to be extended?

 

 

 

 

 

 

 

 

 

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in addition, the Candidate will be advised of the following conditions and terms as part of this offer of employment:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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’ Paycheck History by Employee 12/31/2000
ST. TAMMANY ARC
7054-CATCHINGS, CHRI 5/12/2000 Gross Pay $20.41 Deductions $1.98 Check No. 37421 $18.42
Hours Earnings Earnings/Special Codes Federal Taxes State /OtherTaxes Deduction Codes
Std 26.50 $20.41 F.LT. $0.00 Louisiana $0.41
F.LCA. $1.27
Medicare $0.30
26.50 $20.41 $0.00 $1.57 $0.41 $0.00
7054-CATCHINGS, CHRI 6/23/2000 Gross Pay $18.02 Deductions $1.74 Check No. 38292 $16.2¢
Hours Earnings Earnings/Special Codes Federal Taxes State /OtherTaxes Deduction Code:
Std 23.40 $18.02 F.LT. $0.00 Louisiana $0.36
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23.40 $18.02 $0.00 $1.38 $0.36 $0.00
7054-CATCHINGS, CHRI 7/21/2000 Gross Pay $6.69 Deductions $0.64 Check No. 38840 $6.05
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Std 26.10 $20.10 FLT. $0.00 Louisiana $0.40
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Case 2:01-cv- 03628 RD-JCW Document 24 Filed "oe Page 30 of 40

‘ Paycheck History by Employee

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7054-CATCHINGS, CHRI 9/1/2000 Gross Pay $13.32 Deductions $1.29 Check No. 39676 $12.02
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CATCHINGS, CHRISTY Gross Pay $84.85 Deductions $8.20 $76.65
Hours Earnings Earnings/Special Codes Federal Taxes State / OtherTaxes Deduction Code:
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Louisiana Comm. On Human Rights and EEOC
State or local Agency, if any
NAME (Indicate Mr., Ms., Mrs.) HOME TELEPHONE (Include Area Code)
Ms. Connie D. Catchings (985) 863-2152
STREET ADDRESS CITY, STATE AND ZIP CODE DATE OF BIRTH
38151 N. 3rd Avenue, Slidell, LA 70460 11/28/1951

 

 

NAMED IS THE EMPLOYER, LABOR ORGANIZATION, EMPLOYMENT AGENCY APPRENTICESHIP COMMITTEE,
STATE OR LOCAL GOVERNMENT AGENCY WHO DISCRIMINATED AGAINST ME (rr wore than one list below.)

 

 

 

 

 

 

 

 

NAME NUMBER OF EMPLOYEES, MEMBERS [TELEPHONE (Include Area Code)
St. Tammany Assoc For Retarded Cit.| Cat B (101-200) (985) 641-0197
STREET ADDRESS CITY, STATE AND ZIP CODE COUNTY
1541 St. Ann Place, Slidell, LA 70460 103
NAME TELEPHONE NUMBER (Inciude Area Code)
STREET ADDRESS CITY, STATE AND ZIP CODE COUNTY
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THE PARTICULARS ARE (If additional space is needed, attach extra sheet{s)):

I am filing this charge on behalf of my daughter, Christy Catchings,
because of her disability. On or about June 10, 2000, my daughter was
Genied an opportunity to work in the laundry and was not allowed to earn
the rate of pay that she would have received in the laundry. Instead of
being hired as a seasonal worker, she was classified as a seasonal
client worker.

Sherri Johnston, White Adult Coordinator, said that Christy could not
work in the laundry because she didn’t know how to fold towels.

I believe that my daughter was discriminated against in violation of
Title VII of the Civil Rights Act of 1964, as amended, because of her
race, Black, because Jonathan Sanders, White, was allowed to work in the
laundry and because clients who are White are also allowed to work in
the laundry. I believe that my daughter was also discriminated against
in violation of the Americans with Disabilities Act of 1990 because of
her disability by being denied the opportunity to try to work in the
laundry.

 

I want this charge filed with both the EEOC and the State or| NOTARY - (When necessary for State and Local Requirements)
local Agency, if any. I will advise the agencies if I change my

 

address or telephone number and cooperate fully with them in the| 1 Swear or affirm that I have read the above charge and that

processing of my charge in accordance with their procedures. it is true to the best of my knowledge, information and belief.

 

I declare under penalty of perjury that the foregoing 1s true SIGNATURE OF COMPLAINANT
and correct.

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(Month, day and year)
Date JS, 20 Cf Charging Party (Signature)
FEOC FORM 5 (Rev. 07/99)

  

 

 

 

 
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Case BSB ect otiny CS Page 32 of 40
DISMISSAL AND NOTICE OF RIGHTS

 

 

 

To: Connie Catchings From: F.E.O.C
38151 N. 3RD AVENUE Memphis District Office
SLIDELL, LA 70460 1407 Union Ave. Suite 621 ;
Memphis, TN 38104
t

{-]_ On behalf of a person aggrieved whose identity is CONFIDENTIAL (29 C.F.R. 1601.7(a) )

 

Charge Number EEOC Representative Telephone Number
270A11432 Shirley S. McGee (901) 544-0139

 

 

 

THE EEOC 1S CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:

The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability that is covered by the Americans with Disabilities Act.

The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

We cannot investigate your charge because it was not filed within the time limit required by law.

Having been given 30 days in which to respond, you failed to provide information, failed to appear or be available for
interviews/conferences, or otherwise failed to cooperate to the extent that it was not possible to resolve your charge.
While reasonable efforts were made to locate you, we were not able to do so.

You had 30 days to accept a reasonable settlement offer that affords full relief for the harm you alleged.

The EEOC issues the following determination: Based upon its investigation, the EEQC is unable to conclude that the

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information obtained establishes violations of the statutes. This does not certify that the respondent 1s in compliance '
with the statutes. No finding 1s made as to any other issues that might be construed as having been raised by this
charge.

Tne EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

Other (briefly state)

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- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form}

Title Vil, the Americans with Disabilities Act, and/or the Age Discrimination in Employment Act: This will be the only notice of
dismissal and of your right to sue that we will send you. You may file a lawsuit against the
respondent(s) under federal law based on this charge in federal or state court. Your lawsuit mustbe
filed WITHIN 90 DAYS of your receipt of this Notice; otherwise, your right to sue based on this charge will be
lost. (The time limit for filing suit based on a state claim may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for will-
ful violations) of the alleged EPA underpayment. This means that backpay due for any violations that occurred
more than 2 years (3 years) before you file suit may not be collectible.

If you file suit based on this charge, please send a copy of your court complaint to this office.

On Behalf of the Commission

‘Dow (4 Woads/ ty September 19, 2001 |

Doris B. Woods, Acting Dfrector (Date)
Enclosure(s)

270A1 1432
cc. . Atty. Michel T Tusa, Jr.
LeBlanc Tusa Butler, LLC
2121 Airline Drive
Suite 405
Metairie, LA 70001

 

 

 

 

EEOC Form 161 (Rev 09/97) RESPONDENT REP COPY
Case 2:01-cv-0S6 24RD -JCW Document 24 Filed 18” Page 33 of 40

STATE OF LOUISIANA
PARISH OF
AFFIDAVIT

BEFORE ME, the undersigned notary, personally appeared Rhonda Clark who after
being duly sworn did state:

that she is an African American female who is employed by St. Tammany
Association for Retarded Citizens (“STARC’”) as the Linen Service Facilitator;

that she has been employed by STARC in said position since June 7, 1997;

that in her position she came to know Connie Catchings and Christy Catchings;

that at one point in time Connie Catchings asked affiant if her daughter Christy could
sit in the laundry facility while Connie drove her route bus for STARC as Christy had no-
one to watch her;

that affiant advised Connie that Christy could not stay at the linen service facility
while Connie drove her route;

that at no time did Connie Catchings or Christy Catchings ever ask affiant about a
job for Christy working at linen services;

that affiant is not aware of Christy ever applying for a job with linen services;

that affiant does recall that Connie Catchings oldest daughter was hired for and

Vf Pela kk

worked in linen services for a fev dayg and quit without notice to STARC;

that affiant’s staff at linen services has generally consisted of 10-12 disabled
workers, 3 linen service staff, 1 lead production worker and 1 driver;

that affiant is aware of no facts supporting the claim that STARC discriminated

against Christy Catchings on the basis of a disability or on any other basis;

 
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that affiant makes this affidavit of her own personal knowledge.

Eh ala Sb.

mo RHONDA CLARK

Sworn to and Subscribed
before me this _/4-day
, 2002

4

Notary Public

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SERVICES

Program Coordinator
JANITORIAL
LAUNDRY X | Office (504) 641-0432
ASSEMBLY Fax (504) 847-9231
SORTING

DELIVERY SERVICE

August 19, 1999

TO: Connie Catchings
FROM: Sherri Johnston
RE: Children/Work Place

On Tuesday, August 17°, you arrived at work with your daughter and stated that she could not go
to camp until 10:00am. The same thing occurred on Wednesday, August 18".

It is STARC’s desire to assist staff in any way that we can; however, for the safety and well
being of the clients supervised by staff and for the children of the staff, it is in the best interest of
all that children not be brought to the work place.

In the future, if this arises, the solution is to let me know first (do not bring children to the
work place without prior permission from your supervision) and for you to find a substitute
for the day so that you can take care of your personal responsibility to your family member. In
the aforementioned case, it might have been possible to arrange for you to come in after you
took her to the camp. -

I know I can count on you to follow STARC’s policies and make the proper judgement call if a

situgtion similar to this arises in the future.
Jorn lth yi _L£ [1-2 F.

 

 

Connie Catchings o Date
United Way (Mailing) 1541 ST. ANN PLACE ® SLIDELL, LOUISIANA 70460
FOR THE GREATER (Physical) 40016 SHORTCUT HWY ® SLIDELL, LOUISIANA 70461

NEW ORLEANS AREA DMISSION OF ST. TAMMANY ASSOCIATION FOR RETARDED CITIZENS

 
 

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UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF LOUISIANA

CONNIE CATCHINGS ON BEHALF * CIVIL ACTION
OF HER DAUGHTER,

CHRISTY CATCHINGS *

VERSUS * NO. 01-3629
ST. TAMMANY ASSOCIATION * SECTION “K”
FOR RETARDED CITIZENS

* MAGISTRATE 2

 

STATEMENT OF UNCONTESTED FACTS
NOW INTO COURT, through undersigned counsel, comes defendant St. Tammany
Association for Retarded Citizens (““STARC”) who files the following statement of uncontested
facts:
1. Christy Catchings was born on September 15, 1982;
2. On or about April 10, 2000, plaintiff's mother submitted a handwritten employment
application on her behalf to STARC (Exhibit 1);
3. On or about April 20, 2000 Ms. Catchings obtained the necessary DOL Employment
Certificate to allow Christy Catchings who was a minor at the time to work (Exhibit 2);

4. On or about May 5, 2000 Ms. Christy Catchings began employment with STARC as a

 

 
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seasonal employee;

5. Ms. Christy Catchings received her first paycheck from STARC on or about May 12, 2000
(Exhibits 3 and 4);

6. Ms. Christy Catchings remained employed by STARC as a seasonal worker until on or
about September 1, 2000 (Exhibits 3, 4);

7. On or about March 20, 2001 plaintiff's mother filed an EEOC charge on behalf of her
daughter (Exhibit 5);

8. At the time the EEOC charge was filed Christy Catchings, plaintiff herein, was 18 years
old and a major;

9. Plaintiff's mother also filed an EEOC charge against defendant on her own behalf;

10. Onor about September 19, 2001 the EEOC issued a dismissal and right so sue letter to
plaintiff finding no basis for her claim (Exhibit 6);

11. Plaintiff is mentally retarded but is not interdicted nor does she have any judgment
reflecting that she has impaired capacity;

12. Plaintiff’s initial lawsuit was filed on her behalf by her mother even though she, plaintiff,
was a major at the time;

13. | The subsequent amended complaint filed by Tulane deleted her mother as plaintiff and

substituted Christy Catchings.

 

 

 
 

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USA, JR., #02154

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Suite 405

Metairie, Louisiana 70001

(504) 828-1010 (phone)

(504) 828-1079 (fax)

Attorney for St. Tammany Association for
Retarded Citizens

CERTIFICATE OF SERVICE

This is to certify that a copy of the foregoing has been forwarded to all counsel of record

    
 

via U.S. Mail, postage pre-paid and properly addressed, thi

 

 

 
 

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UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF LOUISIANA

CONNIE CATCHINGS * CIVIL ACTION
OF HER DAUGHTER,

CHRISTY CATCHINGS *

VERSUS * NO. 01-3629
ST. TAMMANY ASSOCIATION * SECTION “Kk”
FOR RETARDED CITIZENS

* MAGISTRATE 2

NOTICE OF HEARING
PLEASE TAKE NOTICE that the hearing on defendant’s Motion for Summary

Judgment will be set before the Honorable Joseph C. Wilkinson, Jr on September 11, 2002, at

11:00 a.m.
a
upon A & BUTLER, LLC

 

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Suite 4

Metairie, Louisiana 70001

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(504) 828-1079 (fax)

Attorney for St. Tammany Association for
Retarded Citizens

 

 
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CERTIFICATE OF SERVICE

This is to certify that a copy of the foregoing has been forwarded to all counsel of record

 

 

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